13 440/SDNY Case 1:18-cv-O4171-Cl\/| DQ§V[E%UV?ERF§`|$.=GEQB/ 18/ 18 Page 1 of 2

REV. 06/01/17

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by lawl except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974l is required for use of the Clerk of Court forthe purpose of initiating the civil docket sheet.

PLA|NT|FFS DEFENDANTS

S.D., an infantl by her m/n/g TlFFANY DEHN, L.D.l an infant, by her m/n/g STARHOTELS |NTERNATlONAL CORPORATlON :

TlFFANY DEHNl A.L.D., an infantl by her m/n/g TlFFANY DEHN, TlFFANCY d/b/a THE MlCHELANGELO HOTELl STARHOTELS S.p.A. and THE
DEHNl individuallyl JONATHAN DEHNl CATHER|NE DEHN and DAV|D M|CHELANGELO HOTEL

P.?ldRNEYS (FlRM NAMEl ADDRESS, AND TELEPHONE NUMBER
Molod, Spitz & DeSantisl P.C.

1430 Broadway 21st Floor

AT|'ORNEYS (lF KNOWN)
Dorf & Nelson
555 Theodore Fremd Avenue

New York, NY10018 Te|. 212.869.3200

Rye, NY 10580 Te|. 914.381.7600

CAUSE OF ACT|ON (C|TE THE U.S_ ClV|L STATUTE UNDER WH|CH YOU ARE FlL|NG AND WR|TE A BR|EF STATEMENT OF CAUSE)
(DO NOT C|TE JUR|SD|CT|ONAL STATUTES UNLESS D|VERS|TY)

This is a diversity action under 28 U.S.C. §1332 for personal injuries to plaintiffs arising out of the defendants' negligence.

Judge Previously Assigned
Has this action, case, or proceedingl or one essentially the same been previously filed in SDNY at any time? No-Yes[:|

lf yes, was this case Vol.|:l lnvol. m Dismissed. No [:] Yes m lf yesl give date & Case No.

No E] Yes l:l
NATURE OF SUIT

 

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(PLACE AN [X] IN ONE BOX ONL Y)

TORTS ACT|ONS UNDER STATUTES

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REAL PROPERTY

Check if demanded in complaint

 

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DEN|AND $ OTHER

Check YES only if demanded in complaint
JURY DEMAND: |Z| vEs l:No

DO YOU CLAlM TH|S CASE |S RELATED TO A C|V|L CASE NOW PEND|NG |N S.D.N.Y.
AS DEF|NED BY LOCAL RULE FOR D|VlS|ON OF BUS|NESS13?
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JUDGE DOCKET NUMBER

 

NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form lH-32).

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Proceedlng State Court g::le"ate ReOPened (Spe°'fy D'st"°t) mansra;red) Magistrate Judge

m a, all parties represented Coun

[:l 8 Multidistrict Litigation (Direct Fi|e)
E b_ At least one party

is pro se.
(PLACE AN X IN ONE BOX ONLY) BAS|S OF JUR|SD|CT|ON IF DIVERSITY, INDICATE
E 1 u.s. PLA|NT|FF |:|2 u.s. DEFENDANT ij 3 FEDERAL QuEsTloN 1214 DlvERslTY CITIZENSHIP BELOW.

(u.s. NoT A PARTY>

C|T|ZENSHIP OF PR|NC|PAL PART|ES (FOR D|VERS|TY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

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OF BUS|NESS |N TH|S STATE

PLA|NT|FF(s) ADDREss(Es) AND couNTY(lEs)
S.D., L.D., A.L.D. Tiffany Dehn and Jonathan Dehn: 170 Alhambra Drive Pueblo, Colorado 81005 -
County of Pueblo, State of Colorado

Catherine Dehn and David Dehn: 53 Posada Drive Pueblo, Colorado 81005 - County of Pueblo, State of
Colorado

DEFENDANT(s) ADDREss(Es) AND couNTY(lEs)

STARHOTELS lNTERNATlONAL CORPORAT|ON d/b/a THE lVllCHELANGELO HOTEL,
STARHOTELS S.p.A. and THE l\/llCHELANGELO HOTEL:152 West 51st Street NeW York, NY 10019 -
County of New York, State of New York

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTAT|ON lS HEREBY MADE THATl AT TH|S T|MEl | HAVE BEEN UNABLE, WlTH REASONABLE DIL|GENCE, TO ASCERTA|N
THE RES|DENCE ADDRESSES OF THE FOLLOW|NG DEFENDANTS:

COURTHOUSE ASS|GNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Loca| Rule for Division of Business 18, 20 or 21,

checkone; THls ACT|ON SHouLD BE AssiGNED To: l:| WH|TE PLA|NS |Xl l\/|ANHATTAN

DATE 5/18/2018 /TURE.OF ATTORNEY OF RECORD ADMn'rED To PRAchcE lN THls DlsTRlcT

[ l NO

1><1 YEs (DATE ADMITTED lvlo.NOv- Yr. 2000 )
RECE|PT # Attorney Bar Code #AS-1294
Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

 

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UN|TED STATES D|STR|CT COURT (NEW YORK SOUTHERN)

